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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 22-80073-CR-MIDDLEBROOKS

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs .

  JOHN R. MOORE, JR. and
  TANNER J. MANSELL,
       Defendant.
  - -- -- - - - - - - - - -I
                           ORDER DENYING MOTION TO COMPEL
         THIS CAUSE comes before the Court pursuant to the Defendants' Joint Motion to

  Compel Early Witness List, Exhibit List, and Brady, Giglio , and Jencks Material (D.E. 32).

  After reviewing the Defendants ' motion, Defendants ' joint supplemental filing (D.E. 39) and the

  Government' s response (D.E. 4 1), it is


         ORDERED and ADJUDGED that Defendants ' Joint Motion to Compel Early Witness

  List, Exhibit List, and Brady, Giglio, and Jencks Material (D.E. 32) is DENIED.


         DONE AND ORDERED at West Palm Beach, Florida this 7th day of November, 2022.




                                                              United States District Judge


  cc:    Counsel of Record
